         Case 6:10-cr-00001-LGW-CLR Document 290 Filed 01/20/15 Page 1 of 2




UNITED STATES DISTRICT COURT                     recommended that Simmons's § 2255
SOUTHERN DISTRICT OF GEORGIA                     motion be denied. ECF No. 6 at 5.
    STATESBORO DIVISION                          Although Simmons objected, ECF No. 9, the
                                                 Court adopted the R&R, ECF No. 10.
ELIJAH NAHUM SIMMONS,
                                                    III. ANALYSIS
Movant,                                             Simmons's Motion seeks relief under
                      6:13-cv-112                two rules: Rule 5 9(e) and Rule 60(b).
V   .



                      6:10-cr-i                     A. Rule 59(e)

UNITED STATES OF AMERICA,                            Under Rule 59(e), a party may seek to
                                                 have a judgment altered or amended. Fed.
Respondent.                                      R. Civ. P. 59(e). However, such a motion
                                                 "must be filed no later than 28 days after the
                  ORDER                          entry of the judgment." Id. In addition, a
        I. INTRODUCTION                          Rule 5 9(e) motion cannot be used "to
                                                 relitigate old matters, raise argument[,] or
   Elijah Simmons has filed a motion
                                                 present evidence that could have been raised
seeking relief under Federal Rules of Civil
                                                 prior to the entry of judgment." Michael
Procedure 59(e) and 60(b). ECF No. 12.
                                                 Linet, Inc. v. Viii. of Wellington, Fla., 408
        II. BACKGROUND                           F.3d 757, 763 (11th Cir. 2005).
    Simmons pleaded guilty to conspiracy to          Here, Simmons filed his Motion on
possess with intent to distribute controlled     December 17, 2014, which is 30 days after
substances. ECF No. 6 at 1. Despite              the entry of the judgment. See ECF No. 11.
waiving both his direct and collateral appeal    Therefore, his Motion is untimely. But even
rights, Simmons appealed to the Eleventh         if the Motion had not been untimely,
Circuit. Id at 2. The Eleventh Circuit           Simmons raised the same arguments here
found that there were no appealable issues       that he raised in his initial § 2255 petition.
and affirmed Simmons's conviction and            See ECF No. 1 at 3-5.
sentence. United States v. Simmons, 504 F.
                                                    Therefore, Simmons's Motion under
App'x 823, 824(11th Cir. 2013).
                                                 Rule 59(e) is dismissed.
    Simmons then sought relief under 22
                                                     B. Rule 60(b)
U.S.C. § 2255. ECF No. 1. In his petition,
Simmons focused exclusively on the                   Under Rule 60(b), the Court may grant a
argument that his attorney at sentencing         party relief from a judgment or order on the
failed to object to a sentencing error, and      basis that "the judgment is void" or for "any
that his appellate counsel failed to raise the   other reason that justifies relief." Fed. R.
same issue on appeal. Id at 3. The               Civ. P. 60(b)(4), (6); see also Griffin v.
Magistrate Judge issued a Report and             Swim-Tech, Corp., 722 F.2d 677, 680 (11th
Recommendation ("R&R"), which                    Cir. 1984) ("Motions under the rule are
      Case 6:10-cr-00001-LGW-CLR Document 290 Filed 01/20/15 Page 2 of 2




directed to the sound discretion of the                 IV. CONCLUSION
district court.").                                       The Court GRANTED Simmons's
    The sole argument that Simmons                   request for relief from the judgment under
advances in his Motion is that his counsel at        Rule 60(b), ECF No. 12. The judgment
sentencing was ineffective. See ECF No. 12           previously entered by the Court, ECF No.
at 2. However, as Simmons acknowledges,              11, is VACATED. The magistrate judge is
he waived the right to challenge the                 directed to hold an evidentiary hearing on
ineffectiveness of his counsel in a § 2255           Simmons's ineffective-assistance-of-counsel
proceeding in his plea agreement. ECF No.            claim.
6 at 1.
    In its response to the R&R, the                  This/a day of Janu 2015.
Government informed the Court that it
would not seek enforcement of Simmons's
waiver. ECF No. 8. The Government's
                                                      Ic
decision is the result of a recent policy            A. AANT EDENFIEYD, JUiE
                                                     UNITED STATES DISTRICt COURT
change at the Department of Justice, a
                                                     SOUTHERN DISTRI'CT OF GEORGIA
change which requires prosecutors to
withdraw any reliance upon waivers of
ineffective-assistance claims. Id. at 1. In
light of this new policy, the Eleventh Circuit
has required district courts to not enforce
waivers of ineffective-assistance-of-counsel
claims. See Jones v, United States, 582 F.
App'x 845 (11th Cir. 2014); Murdock v.
United States, 2015 WL 127365 (11th Cir.
Jan. 9, 2015). In Murdock, for example,
when the district court previously ruled that
an ineffective-assistance claim was barred
by a waiver, the Eleventh Circuit remanded
for an evidentiary hearing after the
Government withdrew its reliance upon the
waiver. Id. at * 1.
    Simmons has raised an ineffective-
assistance claim. Following the lead of the
Eleventh Circuit, Simmons's waiver should
not be relied upon. Therefore, the Court
finds it necessary to evaluate Simmons's
claim, and the Court grants Simmons's
60(b) motion.

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